Case 2:18-Cr-00025-DLC Document 1 Filed 10/29/18 Page 1 of 3

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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

IN 'l`HE UNlTED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BUTTE DIVISION

 

UNlTED STATES OF AMERICA,

Plaintiff,
vs.
ANN BENNETT H E RMANSON,

Dei`endant.

 

CR18- 75 -BU-DLC

INFORMATION

WIRE FRAUD

Title 18 U.S.C. § 1343

(Penaity: 20 years imprisnnnienl_. 5250,000
fine, and three years supervised rclcasc)

 

'I`Hl€ UNITED STATES ATTORNEY CHARGES:

TI-IE SCHEME TO DEFRAUD

That beginning in approximately September 2009, and continuing through

approximately Dcccniber 201(), at Wesl Yellowstc)ne, within Gallatin Connty, in

the State and Disti'ict 01" Monlana, the det`endant, ANN BENNETT

Case 2:18-cr-00025-DLC Document 1 Filed 10/29/18 Page 2 of 3

HERMANSON, executed a material scheme and artifice to defraud, and t`or
obtaining money by means of false and fraudulent pretenses and representations
Spccil`lcally, the defendant, ANN BENNETT l-lERMANSON, in her capacity as a
trustee and fiduciary for several clients’ funds, used those funds for her personal
benefit by making unauthorized credit card payments, writing unauthorized checks
to herselt`and others, and initiating unauthorized electronic t`uncls transfers
INTERSTATE WIRE

On or about February 5, 2016, at West Yellowstone, within Gallatin County,
in the State and Distriet of l\/lontana, the defendant, ANN BENNETT
HERMANSON, for the purpose of executing the aforementioned material Scheme
and artifice to defraud, and for obtaining money by means of material talse and
fraudulent pretenses and representations, did knowingly cause to be transmitted in
interstate commerce a wire communication between First Security Bank in
Montana and Bank ofAmerica outside l\flontana, W|iich represented the transfer ol"
$3,871, in violation of 18 U.S.C. § 1343.

DATED this §§ day arocrober, 2013.

KURT G. ALME
United States Attoniey

__/-.'_) ,
TlMoTr-IYOJ.| RACICOT
Assistant U.S. Attorney

Altorney l`or Plaintit`i"

Case 2:18-cr-00025-DLC Document 1 Filed 10/29/18 Page 3 of 3

%%Mr

%6RT ALME
nite tates Attorney

Attorney for Plaintil"l"

Ap“/’\

sara E. THAGGARD
riminal Chief Assistant U.S. Attorney
Attomey t`or Plaintiff"

